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                          UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
TERRI M. BOOKER, ESQ.                :
1252 N. 55th Street                  :
Philadelphia, PA 19153               :
                                     :     CIVIL ACTION
               Plaintiff,            :
                                     :     CASE NO.: 22-741
       v.                            :
                                     :
CITY OF PHILADELPHIA                 :     JURY TRIAL DEMANDED
1400 JFK Blvd., Room 180             :
Philadelphia, PA 19106               :
                                     :
               Defendant.            :
                                     :

                   SECOND AMENDED CIVIL ACTION COMPLAINT

       Plaintiff, Terri M. Booker, Esq. (hereinafter referred to as “Plaintiff”), by and through her

undersigned counsel, hereby avers as follows:

                                       INTRODUCTION

       1.      Plaintiff has initiated this action to redress violations by the City of Philadelphia

(hereinafter referred to as “Defendant,” unless indicated otherwise) of the Americans with

Disabilities Act, as amended (“ADA” - 42 USC §§ 12101 et. seq.), the Family and Medical Leave

Act (“FMLA” - 29 U.S.C. §§ 2601 et. seq.), Title VII of the Civil Rights Act of 1964 ("Title VII"

- 42 U.S.C. §§ 2000e, et. seq.), Section 1981 of the Civil Rights Act of 1866 (“Section 1981” – 42

U.S.C. § 1981), the Pennsylvania Human Relations Act (“PHRA”), and the Philadelphia Fair

Practices Ordinance (“PFPO”). Plaintiff asserts herein that she was unlawfully terminated from

her employment with the City of Philadelphia in violation of these laws and seeks damages as set

forth more fully herein.
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                                  JURISDICTION AND VENUE

        2.     This Court has original subject matter jurisdiction over the instant action pursuant

to 28 U.S.C. §§ 1331 and 1343(a)(4) because it arises under the laws of the United States and seeks

redress for violations of federal laws. There lies supplemental jurisdiction over Plaintiff’s state-

law claims because they arise out of the same common nucleus of operative facts as Plaintiff's

federal claims asserted herein.

        3.     This Court may properly maintain personal jurisdiction over Defendant because its

contacts with this state and this judicial district are sufficient for the exercise of jurisdiction over

Defendant to comply with traditional notions of fair play and substantial justice, satisfying the

standard set forth by the United States Supreme Court in Int’l Shoe Co. v. Washington, 326 U.S.

310 (1945), and its progeny.

        4.     Pursuant to 28 U.S.C. § 1391(b)(1) and (b)(2), venue is properly laid in this district

because Defendant is deemed to reside where it is subjected to personal jurisdiction, rendering

Defendant a resident of the Eastern District of Pennsylvania.

        5.     Plaintiff filed a Charge of discrimination and retaliation with the Equal

Employment Opportunity Commission (“EEOC”) and also dual-filed said charges with the

Pennsylvania Human Relations Commission (“PHRC”). Plaintiff has properly exhausted her

administrative proceedings before initiating this action by timely filing and dual-filing her Charge

with the EEOC and PHRC, and by filing the instant lawsuit within 90 days of receiving a right-to-

sue letter from the EEOC.

                                              PARTIES

        6.     The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.




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        7.     Plaintiff is an adult who resides at the above-captioned address.

        8.     Defendant City of Philadelphia is the largest city in the state of Pennsylvania. At

all relevant times herein, Plaintiff worked for the Register of Wills, which is charged with issuing

and maintaining marriage licenses, probating wills, and maintaining and docketing the records of

the Orphan’s Court.

        9.     At all times relevant herein, Defendant acted by and through its agents, servants,

and employees, each of whom acted at all times relevant herein in the course and scope of their

employment with and for the benefit of Defendant.

                                  FACTUAL BACKGROUND

        10.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        11.    In or about 2014, Plaintiff was hired as a part-time Clerical Aide for the Register

of Wills, a position she retained until her promotion to full-time Assistant Solicitor in or about

May of 2020.      Plaintiff held the Assistant Solicitor position until her unlawful termination

(discussed further infra) on or about July 6, 2021.

        12.    During her tenure with Defendant, Plaintiff was initially supervised by Chief

Deputy, Regina Hairston (hereinafter “Hairston”) until Hairston’s separation from Defendant and

then by Solicitor, Sharon Wilson, Esq. (hereinafter “Wilson”), until Plaintiff’s termination.

Plaintiff was generally supervised by Register of Wills, Tracey Gordon, Esq. (hereinafter

“Gordon”).

        13.    Throughout her employment with Defendant, Plaintiff was a hard-working

employee who performed her job well.




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                          -Disability Discrimination/FMLA Violations-

        14.     The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        15.     Plaintiff has and continues to suffer from ADA qualifying health conditions,

including but not limited to, sickle cell anemia (and associated complications), which during flare-

ups (often caused by stress) causes her severe pain, swelling, increased risk of infection, and often

hospitalization.

        16.     Despite Plaintiff’s aforesaid disabilities and limitations, she was still able to

perform the essential functions of her position; however, she (at times) needed some reasonable

medical accommodations, such as time off for doctor’s visits and to care for and treat for her

aforesaid disabilities.

        17.     At all relevant times herein, Plaintiff’s management, including but not limited to

Hairston and Wilson were aware of Plaintiff’s aforesaid health conditions because they had several

discussions regarding the nature of same, and Hairston had recommended that Plaintiff and other

immunocompromised employees work from home throughout the Covid-19 pandemic.

        18.     Additionally, Plaintiff utilized her sick leave or PTO time for her aforesaid health

conditions on several occasions leading up to her unlawful termination.

        19.     For example, on or about May 3, 2021, Plaintiff reported a positive Covid-19 test

and was requested by both Defendant’s management and her doctor to quarantine.            However,

while quarantining, Plaintiff’s aforesaid disabilities were exacerbated by the Covid-19 virus, and

she developed pneumonia.

        20.     As a result of the exacerbation of her disabilities, on or about May 20, 2021,

Plaintiff provided Defendant’s management with a note from her doctor, excusing her from work




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until June 4, 2021, “as it may take her awhile to regain her energy,” after which she “could return

back to work from home as working from home would allow her to take breaks as needed.”

        21.     Respondent’s management, including but not limited to Wilson, however, exhibited

clear frustration and distaste for Plaintiff’s health conditions and requests for time off by criticizing

and scrutinizing her work and treating her in a hostile and derogatory way.

        22.     For example, despite providing Defendant’s management with the aforesaid request

to continue to work from home as a reasonable accommodation for her aforesaid health conditions

(see Paragraph 20, supra), Wilson required that Plaintiff return to the office full time beginning on

or about June 6, 2021, because the “Register needed to see [her] face” – even though Plaintiff

could perform all of the functions of her job remotely.

        23.     During this same timeframe, Gordon also unfairly verbally berated Plaintiff for

purportedly not completing certain job duties as a result of her aforesaid health conditions. On

one particular occasion, Plaintiff was woken from sleep at home by a call from Gordon because a

letter regarding Safety Measures for Covid-19 had not purportedly been emailed to staff.

However, it was discovered that Plaintiff had completed the letter, but it had not been sent out by

Wilson’s secretary.

        24.     Wilson also repeatedly reprimanded Plaintiff for purportedly not performing her

job duties correctly, while negatively referencing her aforesaid disabilities and requested

accommodations, stating “I was trying to be considerate [of Plaintiff’s disabilities], but you need

to get back here [in the office] and get on this,” despite that Gordon and others confirmed Plaintiff

was completing work in the proper format and according to Wilson’s requests.

        25.     Plaintiff reported Defendant’s management’s aforesaid discriminatory and

retaliatory behavior to Human Resources (“HR”) on several occasions, including that she believed




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she was being treated unfairly as a result of her aforesaid health conditions, but her concerns were

largely ignored.

       26.     Plaintiff’s aforesaid health conditions were exacerbated by the hostile work

environment that she was subjected to by Defendant, which required additional medical treatment

and intermittent time off for doctors’ appointments.

       27.     For example, in or about early June of 2021, Plaintiff applied for intermittent

FMLA and provided completed forms from her physician, which stated Plaintiff would need

monthly injections or infusions and intermittent leave as needed for flare-ups.

       28.     Thereafter, on or about June 28, 2021, Plaintiff experienced a severely painful flare-

up or “crisis” of aforesaid health conditions, for which she was admitted to the hospital.

       29.     On her way to the hospital that day, Plaintiff texted Wilson that she was taking an

“FMLA day” and was calling out of work because she could not move her arm. Plaintiff also

spoke via phone with Special Assistant, Marie Weatherill (hereinafter “Weatherill”) to inform

them that she was heading to the hospital.

       30.     Nonetheless, despite notifying Defendant’s management that she was calling out of

work and had properly exercised her FMLA rights earlier that morning, Plaintiff received a hostile

email from Wilson, reprimanding her for missing work. Specifically, the following email rebuked

Plaintiff for missing a meeting, despite having been hospitalized due to an unforeseen, emergency

flare-up of her aforesaid health conditions while still having the presence of mind to reach out via

text to several members of management en route to the hospital:

       Good evening, Terri:

       As you know I received your text this morning notifying me that you will not be
       coming in to work today because you can’t move your arm. You said you would
       take an ‘FMLA day.’ I immediately acknowledged receipt of your text. I asked
       you in a text response to send your request for a day off to me in an email and



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        suggested that you can’t use FMLA as a sick day. I also asked you to email HR
        of your belief that you are entitled to a [sic] ‘FMLA sick day’ for calling out today.

        You did not attend today’s Monday Morning meeting which is part of your duties.
        You did not arrange for onsite phone coverage which was your responsibility. You
        did not send me an email requesting leave in violation of policy nor did you send
        an email to HR as I requested you do. You did not text, email me or alert me that
        you did not intend to do any of the above tasks. In a phone call last week and in
        person the week before that I told you it was your responsible to make sure that the
        phone was covered during the hours you are scheduled to work onsite. I confirmed
        with HR that you are not currently on FMLA nor do you have any available sick
        time left. You provided no information regarding how long you would be out or
        when you are expected to return.

        Nevertheless, I expect you to visit the doctor today and provide a note detailing
        how long you will be out and when you are expected to return to work. Not being
        able to move your arm sounds like a serious condition that require medical
        attention.

        (Emphasis added).

        31.      Very shortly after receiving Wilson’s factually and legally 1 inaccurate and

harassing email, Plaintiff was called (while hospitalized) by Deputy of Human Resources

Charmain Collins, who berated Plaintiff for not emailing Wilson that she would be out of the

office and to advise Plaintiff for the first time that her FMLA had not yet been approved, because

she wanted to speak with Plaintiff’s doctor about her requested accommodations.

        32.      As soon as Plaintiff was physically able, despite being hospitalized and in severe

(acute) pain, she sent an email to Wilson, Collins, and Gordon that same day (June 28, 2021),




1
  Contrary to Defendant’s management’s assertion, the use of FMLA leave as “sick” or medical leave is exactly the
purpose of the statute. See 29 U.S.C.S. § 2601(b)(2) (“The purpose of this act is . . . to entitle employees to take
reasonable leave for medical reasons”). Moreover, tt is well established that FMLA leave is permitted for whole days,
partial days or medical-related breaks under the FMLA. See e.g. Mora v. Chem-Tronics, Inc., 16 F. Supp. 2d 1192
(S.D. Cal. 1998) (Employees may take leave in any size increments and employers may account for the leave in the
shortest period of time the payroll system uses to calculate absences). See also Sabbrese v. Lowe's Home Centers,
Inc., 320 F. Supp. 2d 311 (W.D. Pa. 2004) (explaining that an employer is prohibited from counting medically
necessary breaks against an employee under the FMLA) (emphasis added); Collins v. U.S. Playing Card Co., 466 F.
Supp. 2d 954 (S.D. Ohio 2006) (same).



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stating that she was in the hospital and did not know her return date at the time, as she had just

been admitted.

       33.       Plaintiff sent a follow-up email to Wilson, Collins, and Gordon just two minutes

later stating, “I will have the hospital send you documentation as soon as possible. Thank you.”

       34.       On or about June 30, 2021, while Plaintiff was still hospitalized, Collins reached

out to Plaintiff’s primary doctor’s office and spoke with a staff nurse, Jennifer Cohen, RN

(hereinafter “Cohen”), who confirmed that Plaintiff was hospitalized until further notice.

       35.       Cohen later informed Plaintiff that she has spoken with Collins, who confirmed

Plaintiff’s FMLA leave had been approved by Defendant.

       36.       Over the next few days, while hospitalized, Plaintiff continued to stay in contact

with Defendant’s management, including but not limited to Chief Deputy, Rasheen Crew

(hereinafter “Crew”) regarding her hospital stay and the status of her aforesaid health conditions

and need for continued medical leave.

       37.       Plaintiff was thereafter released from the hospital on or about July 2, 2021.

However, before she could obtain a note from her primary doctor clearing her to return to work,

she received a letter dated July 2, 2021, via Fed-ex from Wilson stating that she was “subject to

termination” for “failing to report to work” from June 28, 2021 until July 2, 2021 – despite that

Wilson and Collins were aware that Plaintiff had been hospitalized, and Collins had spoken to

Plaintiff’s primary doctor’s office regarding same.

       38.       On or about July 6, 2021, Plaintiff forwarded a letter to Defendant’s management

from her doctor, confirming that she had been hospitalized from June 28, 2021 until July 2, 2021,

for her aforesaid serious health conditions and could return to work on or about July 14, 2021.




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However, instead of accommodating Plaintiff’s serious health conditions, Defendant sent Plaintiff

a letter dated July 6, 2021, confirming her termination for “job abandonment.”

       39.       Despite Defendant’s assertions to the contrary, Plaintiff consistently kept

management and HR apprised of the status of her serious medical conditions, need for medical

leave, and desire to return to work when released by her doctor, right up until her termination.

       40.       As a result, Plaintiff believes and therefore avers that she was subjected to a hostile

work environment and terminated because of (1) her actual/perceived/record of health conditions;

(2) her requested accommodations (which constitutes illegal retaliation); (3) her expressed

concerns of unfair treatment as a result of her disabilities; and (4) Defendant’s failure to properly

accommodate Plaintiff by failing to keep her job open and/or failing to reinstate her to her same

or similar position, following her brief medical leave.

                               -Gender and/or Race Discrimination-

       41.       Separately and apart from the discrimination and retaliation that Plaintiff

experienced as a result of her disabilities and requested accommodations, Plaintiff was also

subjected to discrimination, disparate treatment, and ultimately terminated because of her race

and/or gender.

       42.       Plaintiff is a black (African-American) female.

       43.       During Plaintiff’s tenure with Defendant, upon her observations and belief, Gordon

favored Caucasian and/or male employees. By way of example, but not intended to be an

exhaustive list, unlike her Caucasian and/or male co-workers, Gordon:

                 a. Regularly dismissed Plaintiff’s legal advice, and took the recommendations of

                    Caucasian males, whether or not they had any legal experience;

                 b. Criticized and scrutinized Plaintiff’s work;




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               c. During citation meetings, whenever Plaintiff would bring up certain facts,

                   Wilson would dismiss them as irrelevant, but would praise male Caucasian

                   employees that provided the same advice; and

               d. Plaintiff had been promised a raise upon her promotion to Assistant Solicitor,

                   which she never received; and, upon information and belief, she was

                   compensated substantially less than entry level Caucasian and/or male

                   employees, despite have markedly more tenure, skill, and experience.

        44.    After consistently being subjected to clear disparate treatment and discriminatory

harassment based on her race and/or gender by Defendant’s management, Plaintiff was abruptly

terminated on or about July 7, 2021, for pretextual reasons (set forth supra).

        45.    Plaintiff believes and there for avers that she was subjected to a hostile work

environment and terminated because of her race and/or her gender.

                                         COUNT I
          Violations of the Americans with Disabilities Act, as Amended (“ADA”)
         ([1] Actual/Perceived/Record of Disability Discrimination; [2] Retaliation;
              [3] Hostile Work Environment; and [4] Failure to Accommodate)

        46.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        47.    Plaintiff suffered from qualifying health conditions under the ADA which affected

her ability (at times) to perform some daily life activities.

        48.    Plaintiff kept Defendant’s management informed of her serious medical conditions

and need for medical treatment and other accommodations.

        49.    Despite Plaintiff’s aforementioned health conditions and limitations, she was still

able to perform the duties of her job well with Defendant; however, Plaintiff did require reasonable

medical accommodations at times.



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       50.     Plaintiff requested reasonable accommodations from Defendant, including but not

limited to intermittent and/or block time off for doctors’ appointments, treatment, and/or

hospitalization.

       51.     Plaintiff was subjected to hostility and animosity due to her health conditions and/or

requests for accommodations through demeaning, discriminatory, and disparate treatment toward

her (as discussed supra).

       52.     Plaintiff complained of and objected to the aforementioned instances of disparate

treatment, disability discrimination, and retaliation to Defendant’s management

       53.     In response to Plaintiff’s complaints, Defendant’s management bombarded

Plaintiff with increased hostility and animosity through verbal reprimands, pretextual

admonishment, and disparate treatment.

       54.     Plaintiff was terminated from her employment with Defendant in close proximity

to her objections to/complaints of disability discrimination and while she was still on a medical

leave of absence, for pretextual reasons.

       55.     Defendant’s management memorialized in writing that Plaintiff was terminated

from her employment for purportedly “failing to report to work” from June 28, 2021 until July 2,

2021 and “job abandonment.”

       56.     In reality, Plaintiff forwarded a letter to Defendant’s management from her doctor,

confirming that she had been hospitalized from June 28, 2021 until July 2, 2021, and had

consistently kept management and HR apprised of the status of her serious medical conditions,

need for medical leave, and desire to return to work when released by her doctor, right up until her

termination.




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        57.    Defendant failed to accommodate Plaintiff by (1) failing to keep her job open

during her brief medical leave; and/or (2) failing to reinstate her to her same or similar position,

following her brief medical leave.

        58.    Plaintiff believes and therefore avers that she was subjected to a hostile work

environment and terminated because of (1) her actual/perceived/record of health conditions; (2)

her requested accommodations (which constitutes illegal retaliation); (3) her expressed concerns

of unfair treatment as a result of her disabilities; and (4) Defendant’s failure to properly

accommodate her (set forth supra).

        59.    These actions as aforesaid constitute violations of the ADA, as amended.

                                          COUNT II
                 Violations of the Family and Medical Leave Act (“FMLA”)
                                 (Retaliation & Interference)

        60.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        61.    Plaintiff was an eligible employee under the definitional terms of the FMLA, 29

U.S.C. § 2611(a)(i)(ii).

        62.    Plaintiff requested leave for medical reasons from Defendant, her employer, with

whom she had been employed for at least twelve months pursuant to the requirements of 29

U.S.C.A § 2611(2)(i).

        63.    Plaintiff had at least 1,250 hours of service with Defendant during her last full year

of employment.

        64.    Defendant is engaged in an industry affecting commerce and employs fifty (50) or

more employees for each working day during each of the twenty (20) or more calendar work weeks

in the current or proceeding calendar year, pursuant to 29 U.S.C.A § 2611(4)(A)(i).




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        65.    Plaintiff was entitled to receive leave pursuant to 29 U.S.C.A § 2612 (a)(1) for a

total of twelve (12) work weeks of leave on a block or intermittent basis.

        66.    Plaintiff was suspended and ultimately terminated in close proximity to her request

for and while utilizing FMLA leave to care for and treat for her serious health conditions.

        67.    Defendant committed interference and retaliation violations of the FMLA by: (1)

terminating Plaintiff for requesting and/or exercising her FMLA rights and/or for taking FMLA-

qualifying leave; (2) by considering Plaintiff’s FMLA leave needs in making the decision to

terminate her; (3) terminating Plaintiff to intimidate her and/or prevent her from taking FMLA-

qualifying leave in the future; (4) making negative comments and/or taking actions towards her

that would dissuade a reasonable person from exercising her rights under the FMLA; and (5)

failing to reinstate her to her same or similar position following her FMLA leave.

        68.    These actions as aforesaid constitute violations of the FMLA.

                                           COUNT III
              Violations of Title VII of the Civil Rights Act of 1964 (“Title VII”)
               ([1] Race Discrimination; and [2] Hostile Work Environment)

        69.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        70.    During Plaintiff’s employment with Defendant, she was subjected to discrimination

through verbal reprimands and derogatory and disparate treatment because of her race.

        71.    Plaintiff was treated disparately with respect to policies, compensation, and

termination as compared to her Caucasian counterparts.

        72.    Plaintiff was ultimately terminated on or about July 7, 2021, for completely

pretextual reasons.




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        73.     Based on the foregoing, Plaintiff believes and therefore avers that her race was a

motivating/determinative factor in the decision to terminate her employment.

        74.     These actions as aforesaid constitute violations of Title VII.

                                          COUNT IV
                                 Violations of 42 U.S.C. § 1981
                ([1] Race Discrimination; and [2] Hostile Work Environment)

        75.     The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        76.     During Plaintiff’s employment with Defendant, she was subjected to discrimination

through verbal reprimands and derogatory and disparate treatment because of her race.

        77.     Plaintiff was treated disparately with respect to policies, compensation, and

termination as compared to her Caucasian counterparts.

        78.     Plaintiff was ultimately terminated on or about July 7, 2021, for completely

pretextual reasons.

        79.     Based on the foregoing, Plaintiff believes and therefore avers that her race was a

motivating/determinative factor in the decision to terminate her employment.

        80.     These actions as aforesaid constitute unlawful discrimination and retaliation under

Section 1981.

                                           COUNT V
              Violations of Title VII of the Civil Rights Act of 1964 (“Title VII”)
               ([1] Gender Discrimination and [2] Hostile Work Environment)

        81.     The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.




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        82.    During Plaintiff’s employment with Defendant, she was subjected to discrimination

and a hostile work environment by Defendant’s management through disparate treatment,

pretextual admonishment, and demeaning and/or derogatory treatment because of her gender.

        83.    Plaintiff was treated disparately with respect to policies, compensation, and

termination as compared to her male counterparts.

        84.    Plaintiff was ultimately terminated on or about July 7, 2021, for completely

pretextual reasons.

        85.    Based on the foregoing, Plaintiff believes and therefore avers that her gender was

a motivating/determinative factor in the decision to terminate her employment.

        86.    These actions as aforesaid constitute violations of Title VII.

                                          Count VI
               Violations of the Pennsylvania Human Relations Act (“PHRA”)

        87.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        88.    Plaintiff re-asserts and re-alleges each and every allegation of Counts I, III, IV and

V of this Complaint, supra, as they constitute identical violations of the PHRA.

        89.    These actions as aforesaid constitute violations of the PHRA.

                                              Count VII
                  Violations of the Philadelphia Fair Practice Ordinance (“PFPO”)

        90.    The foregoing paragraphs are incorporated herein in their entirety as if set forth in

full.

        91.    Plaintiff re-asserts and re-alleges each and every allegation of Counts I, III, IV, V

and VI of this Complaint, supra, as they constitute identical violations of the PFPO.

        92.    These actions as aforesaid constitute violations of the PFPO.




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       WHEREFORE, Plaintiff prays that this Court enter an order providing that:

       A.      Defendant is to promulgate and adhere to a policy prohibiting discrimination and

retaliation in the future against any employee(s);

       B.      Defendant is to compensate Plaintiff, reimburse Plaintiff, and make Plaintiff whole

for any and all pay and benefits Plaintiff would have received had it not been for Defendant’s

illegal actions, including but not limited to back pay, front pay, salary, pay increases, bonuses,

insurance, benefits, training, promotions, reinstatement and seniority;

       C.      Plaintiff is to be awarded liquidated and/or punitive damages, as permitted by

applicable law, in an amount believed by the Court or trier of fact to be appropriate to punish

Defendant for its willful, deliberate, malicious and outrageous conduct and to deter Defendant or

other employers from engaging in such misconduct in the future;

       D.      Plaintiff is to be accorded other equitable and legal relief as the Court deems just,

proper and appropriate (including but not limited to damages for emotional distress, pain, suffering

and humiliation); and

       E.      Plaintiff is to be awarded the costs and expenses of this action and reasonable

attorney’s fees as provided by applicable federal and state law.

       F.      Plaintiffs shall be permitted to have a trial by jury as requested in the caption of this

Complaint.




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                                          Respectfully submitted,

                                          KARPF, KARPF & CERUTTI, P.C.

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                                          Attorneys for Plaintiff

Dated: August 31, 2022




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